          Case 1:21-cr-00191-JEB Document 31 Filed 01/12/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 UNITED STATES OF AMERICA,                        §
           Plaitiff,                              §
                                                  §
                  Vs.                             §             Case No. 1:21-cr-00191-JEB-1
                                                  §
        RYAN SCOTT ZINK,                          §
           Defendant.                             §


      UNOPPOSED MOTION FOR CONTINUANCE OF STATUS CONFERENCE
TO THE HONORABLE JAMES E. BOASBERG, UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT of COLUMBIA:
       COMES NOW, Defendant RYAN SCOTT ZINK, and through his undersigned counsel,
and files this Unopposed Motion for Continuance of Status Conference, and would show the
following in support of this Motion:

       1. The status conference is currently set for January 18, 2022.
       2. Undersigned Counsel received an incomplete file of discovery provided by the
           Government and is awaiting additional files.
       3. There is a substantial amount of discovery that must be processed and reviewed.
       4. Undersigned Counsel requests a Sixty (60) – day continuance.
       5. Undersigned Counsel has conferred with Assistant United States Attorney, Janani
           Iyengar, and she is not opposed to this Motion for Continuance.

           This request is not being made for purposes of delay, but rather so that justice may be
       served. The parties acknowledge that any continuance granted in this case is excludable
       under the Speedy Trial Act as delay resulting from a continuance granted at the request of
       the parties because the ends of justice served by the continuance outweigh the public
       interest in a Speedy Trial. 18 U.S.C. § 3151(g)(7)(A).

           WHEREFORE, PREMISES CONSIDERED, the Defendant, RYAN SCOTT
       ZINK, respectfully prays this Court grant this Unopposed Motion for Continuance of
       Status Conference.
          Case 1:21-cr-00191-JEB Document 31 Filed 01/12/22 Page 2 of 3




                                                    Respectfully submitted,

                                                    By:     /s/ Cynthia E. Orr
                                                            Cynthia E. Orr

                                                    CYNTHIA E. ORR*
                                                    Bar No. 15313350
                                                    GERALD H. GOLDSTEIN
                                                    Bar No. 08101000
                                                    GOLDSTEIN & ORR
                                                    310 S. St. Mary’s Street
                                                    San Antonio, Texas 78205
                                                    Telephone: 210-226-1463
                                                    Facsimile: 210-226-8347
                                                    Email: whitecollarlaw@gmail.com
                                                    Email: gerrygoldsteinlaw@gmail.com


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been electronically delivered
to Assistant United States Attorney Janani Iyengar, as a registered participant to the CM/ECF
document filing system, on this the 12th day of January, 2022.


                                                            /s/ Cynthia E. Orr
                                                            Cynthia E. Orr
          Case 1:21-cr-00191-JEB Document 31 Filed 01/12/22 Page 3 of 3




                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
 UNITED STATES OF AMERICA,                      §
           Plaitiff,                            §
                                                §
                  Vs.                           §           Case No. 1:21-cr-00191-JEB-1
                                                §
        RYAN SCOTT ZINK,                        §
           Defendant.                           §

                                          ORDER

       On this the ______ day of ________, 2022, came to be considered the Unopposed
Motion for Continuance of Status Conference, and the Court having considered the same,
hereby, orders this Motion:



                        GRANTED.                         DENIED.

       The new date for Status Conference will be: __________________.


       SIGNED on this the _____ day of __________, 2022.




                                           ____________________________
                                           THE HONORABLE JAMES E. BOASBERG
                                           UNITED STATES DISTRICT JUDGE
